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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                     :
                                                              :
                                                                  ORDER
v.                                                            :
                                                              :
                                                                  18 CR 77 (VB)
ADRIAN BRADSHAW,                                              :
                                    Defendant.                :
--------------------------------------------------------------x

        By motion dated December 14, 2020, defendant Adrian Bradshaw moves a second time
for reconsideration of the Court’s denial of his motion to reduce his term of imprisonment
pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Doc. #58).

        The Court has carefully reviewed its July 13, 2020, Memorandum Opinion and Order
denying Bradshaw’s original motion (Doc. #53), its August 10, 2020, Order denying Bradshaw’s
first motion for reconsideration (Doc. #57), the instant second motion for reconsideration, and
the government’s response thereto. (Doc. #59). Having done so, the Court concludes it did not
overlook facts or precedent that might have altered its earlier decisions, because Bradshaw has
not, in either his prior submissions or his most recent submission, demonstrated “extraordinary
and compelling reasons” to warrant early termination of his sentence, taking into account the
current public health crisis, his medical history, the seriousness of his criminal conduct, his prior
criminal record, and the need for the sentence imposed to promote respect for the law, provide
just punishment, and afford adequate deterrence. See 18 U.S.C. §3553(a).

         Bradshaw seems to suggest that the only reason the Court previously denied his motion is
that it accepted the government’s representation that FCI Fairton has done a good job responding
to and mitigating the virus’s threat and caring for its inmates. FCI Fairton has done a good job
in that respect, and there is no basis to conclude Bradshaw is at any less risk of contracting or
developing serious complications from the virus if he were released. More importantly, FCI
Fairton’s response to the threat is not the sole or even principal reason why the Court denied
Bradshaw’s previous motions. The motions were denied because, as repeated herein, Bradshaw
has not met the very high standards set by Congress for terminating a lawfully imposed prison
sentence early.

        Moreover, the Court emphatically rejects Bradshaw’s assertion that he is not a danger to
the community because he merely committed a violent crime against an individual whom he saw
having sex with his girlfriend, rather than committing a crime against a bank or in a public place.
In addition, Bradshaw is a twenty-nine year old man in general good health, except that he
suffers from what is described in his medical records as “mild intermittent” asthma for which he
has been prescribed an inhaler to be used as needed (rather than daily), and for which he is
receiving regular treatment in prison. Those same medical records reflect that Bradshaw has
been tested repeatedly for COVID-19, most recently on December 30, 2020, when he tested
negative, and that he denied having any symptoms throughout December 2020.


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        Finally, the fact that Bradshaw continues to minimize the serious nature of the conduct
underlying his conviction, and that he seems to be more concerned about the impact of his
sentence on himself than he is about the impact of his behavior on the victim, is especially
concerning to the Court, and demonstrates that Bradshaw has never fully accepted responsibility
for his actions.

        Bradshaw has not shown extraordinary and compelling reasons warranting his early
release, and the Section 3553(a) factors all continue to cut strongly against such release.
Therefore, the motion is DENIED.

       Chambers will mail a copy of this Order to defendant at the following address:

       Adrian Bradshaw
       Reg. No. 79929-054
       FCI Fairton
       Federal Correctional Institution
       P.O. Box 420
       Fairton, NJ 08320

Dated: January 11, 2021
       White Plains, NY
                                            SO ORDERED:



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                                            Vincent L. Briccetti
                                            United States District Judge




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